     Case 2:21-cv-06516-PA-JPR Document 11 Filed 11/09/21 Page 1 of 2 Page ID #:51
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10                           UNITED STATES DISTRICT COURT
11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                 WESTERN DIVISION
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     SHAOFANG JIANG,                          No. CV 21-06516 PA (JPRx)
14
                Plaintiff,                    ORDER OF DISMISSAL
15
                       v.
16
   ALEJANDRO MAYORKAS,                        Honorable Percy Anderson
17 SECRETARY, DEPARTMENT OF                   United States District Judge
   HOMELAND SECURITY, ET AL.,
18
           Defendants.
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     Case 2:21-cv-06516-PA-JPR Document 11 Filed 11/09/21 Page 2 of 2 Page ID #:52




 1         Having read and considered the Joint Stipulation to Dismiss Case Pending
 2   submitted by the parties, and finding good cause therefore,
 3         IT IS HEREBY ORDERED that the above-captioned action is dismissed in its
 4   entirety with prejudice. Each party shall bear his, her or its own costs, expenses and
 5   attorney’s fees.
 6   Dated: November 9, 2021
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                                     PERCY ANDERSON
 9                                   UNITED STATES DISTRICT JUDGE
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